                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

 ENVY 27, LLC d/b/a MOTEL 6,                                      )
                                                                  )
                   Plaintiff,                                     )
                                                                  )
 v.                                                               )   No.: 3:12-cv-429-TAV-CCS
                                                                  )
 AMERICAN AUTOMOBILE                                              )
 INSURANCE COMPANY,                                               )
                                                                  )
                   Defendant.                                     )


                                            ORDER OF DISMISSAL


          The parties to this action have filed a joint Stipulation of Dismissal with Prejudice

 in the above-captioned case. As a result, pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(ii), this case is DISMISSED with prejudice, with each party to bear its own

 attorney fees, court costs, and discretionary costs. The Court directs the Clerk to close

 the case.

          IT IS SO ORDERED this 6th day of January, 2014.



                                               s/ Thomas A. Varlan
                                               CHIEF UNITED STATES DISTRICT JUDGE




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